            Case 2:17-cr-00208-TOR         ECF No. 91        filed 01/12/18     PageID.228 Page 1 of 2
✎ PS 8
(3/15)


                              UNITED STATES DISTRICT COURT                                                FILED IN THE
                                                                                                      U.S. DISTRICT COURT
                                                                                                EASTERN DISTRICT OF WASHINGTON
                                                           for
                                           Eastern District of Washington                        Jan 12, 2018
                                                                                                     SEAN F. MCAVOY, CLERK



U.S.A. vs.                  Stone, Marshal Julius                      Docket No.            2:17CR00208-TOR-1


                                Petition for Action on Conditions of Pretrial Release

        COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Marshal Julius Stone, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
John T. Rodgers, sitting in the Court at Spokane, Washington, on the 9th day of November 2017, under the following
conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #3: The defendant tested positive for the presence of amphetamine and methamphetamine on December 28, 2017.

Violation #4: The defendant admitted to smoking methamphetamine on December 31, 2017.

         PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATIONS
                              PREVIOUSLY REPORTED TO THE COURT


                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       January 11, 2018
                                                                 by      s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer
          Case 2:17-cr-00208-TOR         ECF No. 91     filed 01/12/18       PageID.229 Page 2 of 2
  PS-8
  Re: Stone, Marshal Julius
  January 11, 2018
  Page 2

THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ X]     The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature of Judicial Officer

                                                                         January 12, 2018
                                                                      Date
